            Case 1:20-cv-04004-LJL Document 16 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
VINCENT O. EXEIRUAKU,
                                    Plaintiff,
                                                                        20 CIV 4004 (LJL)

                 -against-                                         DEFAULT JUDGMENT
AMERICAN EXPRESS COMPANY,
                                Defendant.
---------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED, AND DECREED, that pursuant to the

Court’s Memorandum and Order dated October 19, 2020, Judgment is entered for Plaintiff and

against Defendant in the amount of $36,173; the Court certifies under 28 U.S.C. § 1915(a)(3) that

any appeal from this Order would not be taken from good faith, and therefore in forma pauperis

status is denied for the purpose of an appeal.

DATED: New York, New York
       October 19, 2020
                                                             RUBY J. KRAJICK
                                                             __________________
                                                               Clerk of Court

                                                       BY: __________________
                                                              Deputy Clerk
